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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION




In re:
                                                Chapter 11
      JOSEPH SEVERINO,                          Case No. 22-00769
                  Debtor.                       Hon. Timothy A. Barnes
________________________________________________________________

                                   NOTICE OF MOTION

         TO: See attached list

       PLEASE TAKE NOTICE that on July 20, 2022, at 9:00 a.m., I will appear before the
Honorable Timothy Barnes, or any judge sitting in that judge’s place, and present the motion of
Patten Family Finance, LLC, to convert this case to one under Chapter 7, a copy of which is
attached.

       This motion will be presented and heard electronically using Zoom for Government.
No personal appearance in court is necessary or permitted. To appear and be heard on the motion,
you must do the following:

       To appear by video, use this link: https://www.zoomgov.com/. Then enter the meeting ID
and password.

       To appear by telephone, call Zoom for Government at 1-669-254-5252 or 1-646-828-
7666. Then enter the meeting ID and passcode. When prompted identify yourself by stating
your full name.

        Meeting ID and password. The meeting ID for this hearing is 161 329 5276 and the
password is 433658. The meeting ID and password can also be found on the judge’s page on the
court’s web site. To reach Judge Barnes’ web page go to www.ilnb.uscourts.gov and click on the
tab for Judges.

        If you object to this motion and want it called on the presentment date above, you must
file a Notice of Objection no later than two (2) business days before that date. If a Notice of
Objection is timely filed, the motion will be called on the presentment date. If no Notice of
Objection is timely filed, the court may grant the motion in advance without a hearing.




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                               CERTIFICATE OF SERVICE

        I, Dawn R, Copley, certify that I served a copy of this Notice and the Motion to Convert
on each person/entity shown on the attached list at the address shown and by the method indicated
on the list on June 21, 2022, before 5:00 p.m.


                                            By: /s/ Dawn R. Copley
                                                One of Its Attorneys

Dawn R. Copley (MI P53343)
dcopley@dickinson-wright.com
Dickinson Wright PLLC
500 Woodward Ave., Suite 4000
Detroit, MI 48226
(313) 223-3108




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                                       Service List

Electronic Notice Sent Through the ECF System:

Lina Toma, ltoma@carlsondash.com

Kurt M. Carslon, kcarlson@carlsondash.com

William S. Hackney, III, whackney@salawus.com

John H. Redfield, jredfield@cranesimon.com

Michael M. Tannen, mtannen@tannenlaw.com

Patrick S. Layng, USTPRegion11.ES.ECF@usdoj.gov

William B. Avellone, bill.avellone@charteredmgt.com

Additional Notice Sent by First Class US Mail:

Ally Bank
AIS Portfolio Services
4515 N. Santa Fe Ave.
Dept. APS
Oklahoma City, OK 73118

PRA Receivables Management, LLC
PO Box 41021
Norfolk, VA 23541

ABT
c/o Synchrony Bank
150 Corporate Blvd.
Norfolk, VA 23541

Ally Financial
200 Renaissance Center #B0
Detroit, MI 48243

Capital One
PO Box 31293
Salt Lake City, UT 84131

Capital One Bank (USA), NA
4515 N. Santa Fe Ave.
Oklahoma City, OK 73118

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JPMorgan Chase Bank, NA
Bankruptcy Intake Team
700 Kansas Lane, Floor 01
Monroe, LA 71203

Citibank Advantage
PO Box 6241
Sioux Falls, SD 57117

Comenity Bank
PO Box 18278
Columbus, OH 43218

Gregory K. Stern, P.C.
53 West Jackson
Suite 1442
Chicago, IL 60604

Harvard Collection
4839 N. Elston Ave.
Chicago, IL 60630

Illinois Dept. of Revenue
Bankruptcy Unit
PO Box 19305
Springfield, IL 62794

Internal Revenue Service
Mail Stop 5014CHI
230 S. Dearborn St.
Room 2600
Chicago, IL 60604

Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101

JPMorgan Chase Bank
PO Box 9013
Addison, TX 75001

John Scramuzzo
721 Oriole
Park Ridge, IL 60068




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Midland Credit Management
PO Box 2037
Warren, MI 48090

One Main Financial
PO Box 1010
Evanville, IN 47706

OneMain Financial
PO Box 3251
Evansville, IN 47731

Portfolio Recovery Associates
PO Box 41067
Norfolk, VA 23541

Rachel Stearn Sandler
53 W. Jackson Blvd. #1442
Chicago, IL 60604

Santander Consumer USA, Inc.
PO Box 961245
Fort Worth, TX 76161

TCF Bank
2508 South Louise Ave.
Sioux Falls, SD 57106

US Bank
PO Box 5229
Cincinnati, OH 45201




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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

                                                     )
In re:                                               )
                                                     )     Chapter 11
JOSEPH SEVERINO                                      )     Case No.: 22-00769
                                                     )     Hon. Timothy A Barnes
Debtor.                                              )
                                                     )     Presentment of Motion:
                                                     )     July 20, 2022, 9:00 a.m.

                                      MOTION TO CONVERT


         Patten Family Finance, LLC (“Patten”), by and through its undersigned attorneys, moves

the Court to convert this case to one under Chapter 7 of the Bankruptcy Code pursuant to 11

U.S.C. § 1112(b).

         Pursuant to Section 1112(b)(1), a court must either dismiss or convert a Chapter 11 case to

one under Chapter 7 - whichever is in the best interests of the creditors and the estate - when

“cause” has been demonstrated. The decision whether to dismiss or convert is in the court’s

discretion. Although dismissal would suit Patten’s interest equally as well, Patten has styled this

Motion as one to convert because it submits that conversion, rather than dismissal, may be in the

best interest of the Debtor’s other creditors and the estate, given that the estate currently has equity

in the property located at 1392 W. Old Mill Road, Lake Forest, Illinois 60045 (the “Lake Forest

Property”) (which is diminishing as more fully described below).

                                            ARGUMENT

         Section 1112(b)(1) states:

         Except as provided in paragraph 2 and subsection (c), on request of a party in
         interest, and after notice and a hearing, the court shall convert a case under this
         chapter to a case under chapter 7 or dismiss a case under this chapter, whichever is
         in the best interest of creditors and the estate, for cause unless the court determines
         that the appointment under section 1104(a) of a trustee or an examiner is in the best
         interest of creditors and the estate.
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         Section 1112(b)(4) enumerates examples of what constitutes “cause” but this is not an

exhaustive list. In re Royalty Properties, LLC, 604 B.R. 742, 747 (Bankr. N.D.Ill. 2019) (“Section

1112(b)(4) provides a non-exhaustive list of examples of ‘cause’.”); In re Bovino, 496 B.R. 492,

499 (Bankr. N.D..Ill. 2013) (Barnes, T.) (“Section 1112(b)(4) lists different actions included in the

definition of ‘cause,’ but that list is not exhaustive.”). Further, “cause” warranting conversion to

Chapter 7 also includes the lack of “reasonable likelihood of confirming a plan.” In re Aurora

Memory Care, LLC, 589 B.R. 631, 638 (Bankr. N.D.Ill. 2018); see also In re Burgess, 2013 WL

5874616 (Bankr. N.D.W.V., Oct. 30, 2013) citing In re Ramreddy, Inc., 440 B.R. 103, 113 n. 26

(Bankr. E.D.Pa. 2009) (a debtor’s inability to propose a feasible plan, by itself, constitutes cause

for conversion).

         Cause exists to convert this case to Chapter 7 because: (i) there has been continuing

diminution of the estate and there is an absence of a reasonable likelihood of rehabilitation (Section

1112(b)(4)(A)); (ii) the Debtor’s failure to maintain the appropriate insurance on the Lake Forest

Property (Section 1112(b)(4)(C)); (iii) the Debtor’s failure to pay the real property taxes that have

become due on the Lake Forest Property (Section 1112(b)(4)(I)); and (iv) there is no reasonable

likelihood that the Debtor will be able to confirm a Subchapter V plan.

I.       Cause to convert exists pursuant to Section 1112(b)(4).

         Although any one of the examples enumerated in Section 1112(b)(4) is sufficient to

constitute cause for conversion, not less than three of statutory examples exists in this case. In re

Congaree Triton Acquisitions, LLC, 492 B.R. 843, 851 Bankr. D.S.C. 2012) (“The presence of any

one of these statutory factors, or other factors deemed important by the bankruptcy court, is

sufficient to warrant dismissal or conversion.”), quoting In re Jackson, 1997 WL 467534 at *3 (4th

Cir., Aug. 15, 1997).



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      A. Section 1112(b)(4)(A)

          Cause exists pursuant to Section 1112(b)(4)(A) which provides that a case must be

converted or dismissed if (i) there is “substantial or continuing loss to or diminution of the estate”,

and (ii) there is an “absence of a reasonable likelihood of rehabilitation.”

          There is continuing diminution to the estate in this case. Patten holds a first priority

security interest in the Lake Forest Property and the Urbanos hold a second priority security

interest. As of the Petition Date, Patten’s secured claim was $975,905.92 and the Urbanos secured

claim was $719,493.03 1. In his Subchapter V Plan, the Debtor values the Lake Forest Property at

$2.2 Million. Thus, by the Debtor’s own admission, both Patten and the Urbanos are oversecured,

and the Debtor had equity in the Lake Forest Property as of the Petition Date.

          But, the equity the Debtor has in the Lake Forest Property is quickly deteriorating.

Pursuant to Section 506(b), as oversecured creditors, Patten and the Urbanos are entitled to

postpetition interest and reasonable fees, costs and other charges. As time has passed since the

Petition Date, interest, fees and costs on the secured creditors’ claims have accrued, and will

continue to accrue, and the Debtor’s equity in the Lake Forest Property diminishes, leaving less

value available for payment to the Debtor’s other creditors.

          Moreover, since owning the Lake Forest Property, the Debtor has never, himself, paid the

real property taxes on the property. Specifically, the Debtor has failed to pay prepetition real

property taxes owing as shown on the Estimate of Redemption (attached as Exhibit A) obtained

from Lake County, Illinois which indicates that due to the Debtor’s failure to pay real property

taxes owing for 2020, Lake County sold the taxes on December 6, 2021 to Scribe Funding LLC.




1
    According to the Proof of Claim filed by the Urbanos on April 1, 2022, Claim No. 19.


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As of June 10, 2022, the amount required to redeem the sold real property taxes was $21,929.98.

The Debtor’s failure to pay these real property taxes represents a continuing risk of loss to the

Debtor’s creditors and estate, particularly if the taxes remain unpaid as of the June 27, 2024, the

redemption period expiration, resulting in Scribe Funding being entitled to the issuance of a tax

deed which would extinguish not only the secured creditors’ security interest but the Debtor’s

equity as well. 2

         The Debtor has no reasonable likelihood of rehabilitation. “The issue of rehabilitation for

purposes of Section 1112(b)(4)(A) ‘is not the technical one of whether the debtor can confirm a

plan, rather, whether the debtor’s business prospects justify continuation of the reorganization

effort.’.” In re LG Motors, Inc., 422 B.R. 110, 116 (Bankr. N.D.Ill. 2009), quoting In re Rey, 2006

WL 245735, *6 (Bankr. N.D.Ill. 2006). Here, the Debtor’s business and income prospects to do

not justify continuation of this Subchapter V case. To date, the Debtor has filed two Monthly

Operating Reports, for the periods ending February 28, 2022 (Doc #35) and March 31, 2022 (Doc

#42). 3 In both of these Monthly Operating Reports, the Debtor admits that he has failed to pay all

of his bills on time, that he had $0 income, $0 cash receipts and $0 cash flow, and that he has

“[m]ade or deferred payments” to numerous creditors. The Debtor has made no financial progress

since the Petition Date.

         Further, in his Plan, the Debtor proposes to make plan payments to his creditors from his

income from employment he says was to commence on June 13, 2022. At the Status Hearing on

May 9, 2022, Debtor’s counsel informed the Court and the parties present that the Debtor was in


2
  In order to protect its security interest, prepetition, Patten paid taxes for tax year 2019, that had been sold by Lake
County and were in the redemption period in the amount of $52,410.05. Patten has asserted reimbursement for its
payment of these taxes in its Proof of Claim (Claim No. 11).
3
  The Debtor’s failure to timely file the Monthly Operating Reports for April and May, 2022, is an additional basis
for cause for conversion pursuant to Section 1112(b)(4)(F).



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the process of finalizing his employment contract and would disclose that contract once finalized.

The Debtor has not yet disclosed his employment contract even though it is now past the date on

which his employment was to start. In fact, Patten’s counsel sent Debtor’s counsel an email on

June 10, 2022 (the “June 10 Email,” copy attached as Exhibit B), specifically inquiring about the

status of the Debtor’s employment but has received no response to date. The Debtor has failed to

provide any confirmation of his employment prospects to this Court or the parties in interest. The

Debtor simply does not have the means to rehabilitate.

       Here, for starters, the Court notes that there is no operating business, no cash flow,
       no revenues, and no incremental progress toward the filing of a feasible plan. The
       Debtor has simply failed to demonstrate that he has any tangible capitalization,
       enforceable financing, or cash flow that can support his current obligations or plan
       objectives. See In re Kanterman, 88 B.R. 26, 28-29 (finding no likelihood of
       rehabilitation when debtor lacked independent income and was not meeting any
       post-petition obligations, including tax obligations). Chapter 11 cases do not
       reorganize on hope, interminable litigation, delays, or an absence of financial
       resources.

       In re Sakon, 617 B.R. 7, 15-16 (Bankr. D.Conn. 2020).

       The Debtor has no business to rehabilitate or income prospects that justify continuing this

Subchapter V case and thus, cause exists to convert the case to one under Chapter 7.

   B. Section 1112(b)(4)(C)

       Under Section 1112(b)(4)(C), a Chapter 11 case must be dismissed or converted when a

debtor “fail[s] to maintain appropriate insurance that poses a risk to the estate or to the public.”

Patten has repeatedly requested from the Debtor proof that he maintains insurance on the Lake

Forest Property yet the Debtor has never provided such proof, causing Patten to obtain forced-

place insurance to protect its security interest. Recently, the Debtor submitted a Declaration (copy

attached as Exhibit C) to Patten, purportedly evidencing a current valid insurance policy on the

Lake Forest Property with State Farm Fire and Casualty Company.               But, when a Patten

representative inquired to State Farm about the policy she was informed that the Declaration was

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 merely a proposal and that the policy was not in effect because the premium had never been paid.

 On May 13, 2022, Patten’s counsel emailed Debtor’s counsel informing him of what Patten had

 learned from State Farm and requesting that the Debtor provide proof a of current valid insurance

 policy, including evidence of the premiums paid by the Debtor. Debtor’s counsel’s response was

 that he would forward the email on to his client. (See June 10 Email which includes the May 13

 email string). In the June 10 Email, Patten’s counsel again requested confirmation that the Debtor

 maintained current insurance on the Lake Forest Property but has received no such confirmation

 to date.

        The Debtor’s failure to maintain insurance on the Lake Forest Property poses a risk to the

 estate. The Lake Forest Property is currently insured only to the extent of Patten’s forced-place

 insurance which Patten maintains only to protect its own security interest. The Debtor has not

 appropriately maintained insurance on the Lake Forest Property to protect the estate’s equity

 interests, or the interests of his secured creditors. The Debtor’s failure to, himself, maintain

 insurance on the Lake Forest Property constitutes cause to convert this case to Chapter 7. See In

 re Dickey, 559 B.R. 547 (D.Mass. 2016); In re Sanders, 2010 WL 5136192 (Bankr. D.S.C., Apr.

 29, 2010); In re Gilroy, 2008 WL 4531982 (1st Cir. BAP, Aug. 4, 2008).

    C. Section 1112(b)(4)(I)

        Section 1112(b)(4)(I) provides that a case must be dismissed or converted when the debtor

“fail[s] timely to pay taxes owed after the date of the order for relief or to file tax returns due after

the date of the order for relief”. Attached is a copy of information pulled from the tax records of

Lake County, Illinois (the “Property Tax Information,” copy attached as Exhibit D) that indicates

that the real property taxes for the Lake Forest Property for 2021, that came due on June 6, 2022,

totaling $10,763.89 as of June 10, 2022, have not been paid. The Debtor’s failure to pay the real




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property taxes owing after the Petition Date constitutes cause to convert this case to Chapter 7

pursuant to Section 1112(b)(4)(I).

II.      Cause to convert exist because the Debtor is unable to effectuate a feasible
         Subchapter V Plan.

      A. The Plan is not feasible because the Debtor is unable to show a firm commitment for
         financing.

         The cornerstone of the Debtor’s Plan is the proposed refinancing in the amount of $1.8

Million relating to the Lake Forest Property.         The proposed lender, Legalist DIP GP, LLC

(“Legalist”), is not a traditional lending institution such as a national or state banking institution.

Yet, the Debtor has disclosed no information about Legalist such as evidence that Legalist has the

financial wherewithal to actually provide the funding proposed. The Term Sheet that the Debtor

attaches to his Plan states that “[p]rior to the satisfaction of the Conditions Precedent to funding,

this Term Sheet shall be confidential, non-binding, for discussion purposes only, and not a

commitment to lend.” The Conditions Precedent stated in the Term Sheet include Legalist’s

completion of due diligence (without identifying what that due diligence entails), the Debtor’s

delivery of a fully executed credit agreement, and the Bankruptcy Court’s entry of an order

approving the loan. This Court has not approved the loan (the Debtor hasn’t even filed a motion

requesting such approval) and Debtor has not disclosed whether any of the other Conditions

Precedent have been met. The Debtor also repeatedly states in the Plan that the Term Sheet is

“unnegotiated” and “not fully negotiated,” and the Term Sheet is unsigned by both the Debtor and

Legalist. The Term Sheet contemplates that the loan will be made in multi-draws but neither the

Term Sheet nor the Plan indicate the amount and timing of each draw, making it impossible to

determine whether the first draw will be sufficient to pay Patten’s secured claim (in the full amount

of Patten’s secured claim, not the reduced amount the Debtor proposes) on the Effective Date as

required by Section 2.5 of the Debtor’s Plan.

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         Most importantly, the Term Sheet provides a superpriority security interest 4 in all of the

Debtor’s property, including the Lake Forest Property. The Term Sheet provides that Legalist will

be granted an “automatically perfected security interests…, senior to all pre- and postpetition liens,

on all present or future estate property [.]”

         In order to grant superpriority to Legalist the Debtor must comply with Section 364(d),

which the Debtor is unable to do because he is unable to provide Patten with the adequate

protection it is entitled to under Section 364(d)(1)(B).

         As set forth above, the Debtor values the Lake Forest Property at $2.2 Million. The Debtor

proposes refinancing from Legalist of $1.8 Million and granting Legalist a superpriority lien over

Patten’s and the Urbanos’ existing mortgages. The difference between the $2.2 Million value of

the Lake Forest Property and the $1.8 Million financing (less the Commitment Fee required by the

Term Sheet) is less than $400,000 which is not enough to provide adequate protection as required

by Section 364(d)(1)(B) for Patten’s security interest for its secured claim that is well over $1

Million.     The only permissible way that the Debtor can be authorized to grant Legalist a

superpriority lien is if the Plan unequivocally provides that Patten’s secured claim will be paid in

full from the proceeds of the refinancing loan – with disbursements made directly to Patten at the

closing of the refinancing rather than the funds being disbursed to the Debtor - and Legalist’s lien

will not attach to the Lake Forest Property until Patten’s secured claim is paid in full.

         Section 1123(a)(5) requires the Debtor to provide adequate means for his Plan’s

implementation. According to the Term Sheet, Legalist is not obligated to provide the $1.8 Million

refinancing unless it is granted superpriority, which the Debtor will not be authorized to provide.


4
 The superpriority provision is contained on page 2 of the version of the Term Sheet that was delivered to Patten a
few days prior to the Debtor’s filing of the Plan but is not contained in the version of the Term Sheet attached to the
Debtor’s Plan.



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See Aurora Memory Care, 589 B.R. at 640 (“To demonstrate feasibility, a debtor need not

guarantee the plan’s success, but the debtor must give a ‘reasonable assurance of commercial

viability.’ … As evidence [of refinancing], AMC attaches T2’s March 28 letter of intent. The

letter, though, declared that it was ‘presented for discussion purposes only and does not constitute

an offer, agreement, or commitment to lend.’ At most, then T2 expressed an interest in discussing

a loan. T2 made no financing commitment. AMC has produced no financing commitment from

T2 or anyone else.”) (internal citations omitted). The same is true in this case. The purported Term

Sheet is not a commitment to lend. At best, it is an offer to negotiate at a date sometime in the

future. Because the proposed refinancing is the cornerstone of the Debtor’s Plan, without it, the

Debtor does not have adequate means for implementation of his Plan and the Plan is not feasible.

    B. The Plan is not feasible because the proposed refinancing would be insufficient to
       properly fund the Plan.

        As shown on the attached Exhibit E, even with the refinancing the Debtor proposes, the

proceeds of the proposed refinancing will be insufficient to pay the secured claims of Patten and

the Urbanos, plus the administrative expenses that must be paid on the effective date of the Plan.

11 U.S.C. § 1129(a)(9)(A).       Because a Subchapter V plan cannot be confirmed unless the

administrative expense claims are paid in full on the effective date, the Debtor’s Plan is not

feasible.

    C. The Plan is not feasible because the Debtor has provided no evidence of his
       employment.

        As set forth above, the Debtor has also failed to provide sufficient information relating to

his future employment – the income from which the Debtor proposes to use to pay his unsecured

creditors – to satisfy the requirement of Section 1123(a)(5) that the Debtor provide adequate means

of implementation of his Plan.




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       Section 18.3 of the Plan states that ‘[t]he Debtor will be employed by Wisconsin Phone

Charging, LLC (“WPC”) beginning on June 13, 2022 at the annual base salary of $340,000 with

incentive bonuses based on his production as sales manager.” It is unclear from this statement

whether the Debtor’s annual base salary will be $340,000/year with the possibility of additional

incentive bonuses that will increase Debtor’s income to over $340,000/year, or whether the

$340,000 is Debtor’s estimate of his annual income including base salary and incentive bonuses.

       Although a Subchapter V debtor is not required to file a complete Disclosure Statement, the

Debtor is still required to comply with Section 1125(a) by providing “adequate information”

sufficient to assist his creditors in determining whether they should consent to the Plan or vote in

favor of it. As stated above, at the May 9, 2022 Status Hearing, Debtor’s counsel informed the

Court and the parties present that the Debtor would submit his employment contract once it is

finalized. To date, the Debtor has not produced the employment contract despite his purported

June 13 employment start date having passed and despite a written request for such information as

set forth in the June 10 Email. Unless he can provide evidence of his employment, the Debtor

cannot show that he can provide adequate means for the Plan’s implementation as required by

Section 1123(a)(5) and the Plan is not feasible. See, In re Roland, 77 B.R. 265 (Bankr. D.Mon.

1987) (finding that the proposed income source was “very speculative as well as questionable”

where the debtor proposed to find employment in a type of job he had not held for two years); In re

GAC Storage Lansing, LLC, 485 B.R. 174, 182 and 189 (Bankr. N.D.Ill. 2013) (the feasibility

requirement of Section 1129(a)(11) mandates that the plan proponent offer concrete evidence of

cash flow to fund and maintain both its operations and its obligations under the Plan; the Plan

cannot unfairly shift the risk of failure to creditors.); In re Olde Prairie Block Owner, LLC, 467

B.R. 165, 169 (Bankr. N.D.Ill. 2012) (“[A] plan meets the feasibility standard only if it ‘offers a

reasonable prospect of success and is workable.’ In re Patrician St. Joseph Partners Ltd., 169 B.R.

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669, 674 (D.Ariz. 1994). The central inquiry is ‘whether there is a reasonable probability the

provisions of the plan can be performed.’ In re G-I Holdings, Inc., 420 B.R. 216, 267 (D.N.J.

2009). In re Hoffman, 52 B.R. 212, 215 (Bankr. D.N.D. 1985).”) (“Sincerity, honesty and

willingness are not sufficient to make the plan feasible, and neither are visionary promises.”); In re

Claar Cellars LLC, 623 B.R. 578, 592 (Bankr. E.D.Wa. 2021) (Court held that plan could not be

confirmed where the plan contained five-year operational projections but contained no trigger

requiring the debtor to shift course if the projections proved unattainable.).

                                           CONCLUSION

        For the reasons shown above, Patten requests that the Court enter an Order converting this

Chapter 11, Subchapter V case to one under Chapter 7 of the Bankruptcy Code.



Respectfully submitted:

Dated: June 21, 2022                                 DICKINSON WRIGHT PLLC

                                                     By: /s/ Dawn R. Copley
                                                         Dawn R. Copley (MI P53343)
                                                         Andrew H. Eres
                                                         500 Woodward Avenue, Suite 4000
                                                         Detroit, MI 48226
                                                         313-223-3108
                                                         dcopley@dickinsonwright.com




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